         Case: 23-35478, 12/19/2023, ID: 12839240, DktEntry: 18, Page 1 of 3




                    UNITED STATES COURT OF APPEALS                      FILED
                           FOR THE NINTH CIRCUIT                         DEC 19 2023
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
MARK FITZ; et al.,                              No.   23-35478

                Plaintiffs-Appellants,          D.C. Nos.    3:22-cv-01859-IM
                                                             2:22-cv-01815-IM
 v.                                             District of Oregon,
                                                Portland
ELLEN ROSENBLUM, In her official
capacity as Attorney General of the State of    ORDER
Oregon; TERRI DAVIE, In her official
capacity as Superintendent of the Oregon
State Police,

                Defendants-Appellees.


DANIEL AZZOPARDI; SPORTSMAN'S                   No.   23-35479
WAREHOUSE INC.,
                                                D.C. No. 3:22-cv-01869-IM
                Plaintiffs-Appellants,

 v.

ELLEN ROSENBLUM, In her official
capacity as Attorney General of the State of
Oregon; TERRI DAVIE, In her official
capacity as Superintendent of the Oregon
State Police,

                Defendants-Appellees.


KATERINA B. EYRE; et al.,                       No.   23-35539

                Plaintiffs-Appellants,          D.C. Nos.    3:22-cv-01862-IM
                                                             2:22-cv-01815-IM


OSA113
         Case: 23-35478, 12/19/2023, ID: 12839240, DktEntry: 18, Page 2 of 3




 v.

ELLEN ROSENBLUM, In her official
capacity as Attorney General of the State of
Oregon; TERRI DAVIE, In her official
capacity as Superintendent of the Oregon
State Police,

                Defendants-Appellees,

 and

OREGON ALLIANCE FOR GUN
SAFETY,

                Intervenor-Defendant-
                Appellee.


OREGON FIREARMS FEDERATION,                     No.   23-35540
INC., an Oregon public benefit corporation;
et al.,                                         D.C. No. 2:22-cv-01815-IM

                Plaintiffs-Appellants,

 v.

KATE BROWN, Governor of the State of
Oregon; et al.,

                Defendants-Appellees,

 and

OREGON ALLIANCE FOR GUN
SAFETY,

                Intervenor-Defendant-
                Appellee.


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Before: RAWLINSON, BYBEE, and HURWITZ, Circuit Judges.

         The motion to stay appellate proceedings (Docket Entry No. 10) is granted.

Proceedings are stayed pending resolution of Duncan, et al. v. Bonta, appeal No.

23-55805.




OSA113                                     3                                     23-35478
